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 6                                UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                 Plaintiff,                         )
                                                      )
10          v.                                        ) 2:10-CR-356-LDG-(VCF)
                                                      )
11 JEANNIE SUTHERLAND,                                )
                                                      )
12                 Defendant.                         )
13                        FIRST AMENDED FINAL ORDER OF FORFEITURE
14          On December 8, 2010, the Grand Jury returned a Three-Count Criminal Superseding Indictment,

15 charging JEANNIE SUTHERLAND in Count One with Conspiracy to Commit Wire Fraud, Mail Fraud,

16 and Bank Fraud in violation of Title 18, United States Code, Sections 1341, 1343, 1344, and 1349; in

17 Counts Two and Three with Bank Fraud in violation of Title 18, United States Code, Section 1344; and

18 alleged forfeiture pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

19 States Code, Section 2461(c); Title 18, United States Code, Section 982(a)(2)(A); and Title 21, United
20 States Code, Section 853(p). Criminal Superseding Indictment, ECF No. 60.

21           On February 2, 2012, defendant JEANNIE SUTHERLAND was found guilty by a jury as to

22 Counts One and Three of the Criminal Superseding Indictment (ECF No. 60). Jury Trial Minutes, ECF

23 No. 286; Jury Verdict Form, ECF No. 287.

24           On February 9, 2012, the United States District Court for the District of Nevada entered an

25 Order of Forfeiture (ECF No. 294) as to JEANNIE SUTHERLAND, issuing a criminal forfeiture
26 money judgment of $965,000 in United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(1) and




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 1 (2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section

 2 2461(c); Title 18, United States Code, Section 982(a)(2)(A); and Title 21, United States Code, Section

 3 853(p) based upon the jury verdict finding defendant JEANNIE SUTHERLAND guilty of the criminal

 4 offenses. Criminal Superseding Indictment, ECF No. 60; Jury Trial Minutes, ECF No. 286; Jury

 5 Verdict Form, ECF No. 287.

 6          On February 16, 2012, this Court rescinded and vacated the Order of Forfeiture (ECF No. 294).

 7 Order Rescinding and Vacating Order of Forfeiture, ECF No. 298.
 8          On May 16, 2012, an Amended Order of Forfeiture (ECF No. 330) was entered against JEANNIE

 9 SUTHERLAND for $2,350,350 in United States Currency. Thereafter, the United States recognized a

10 mathematical error and this Court entered a Second Amended Order of Forfeiture (ECF No. 345)

11 correcting the criminal forfeiture money judgment from $2,350,350 in United States Currency to

12 $2,341,350 in United States Currency.

13           On August 28, 2012, the United States District Court for the District of Nevada sentenced

14 JEANNIE SUTHERLAND. Sentencing Minutes, ECF No. 376. On September 4, 2012, this Court

15 entered the sentencing Order of Forfeiture with a criminal forfeiture money judgment of $2,341,350 in

16 United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Title 18, United States

17 Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United States

18 Code, Section 982(a)(2)(A); and Title 21, United States Code, Section 853(p). Sentencing Order of
19 Forfeiture, ECF No. 378.

20           On September 6, 2012, the United States District Court for the District of Nevada entered the

21 Judgment in a Criminal Case on JEANNIE SUTHERLAND with the Sentencing Order of Forfeiture

22 (ECF No. 378) attached. Judgment in a Criminal Case, ECF No. 381.

23 FIRST SUBSTITUTION - 9405 Shipboard Court, Las Vegas, Nevada 89117

24          On March 28, 2014, the United States filed a Sealed Ex Parte Motion to File this Motion and the

25 Sealed Ex Parte Motion to Substitute and to Forfeit Property of Jeannie Sutherland under Seal and Order

26 (ECF No. 430) along with the Sealed Ex Parte Motion to Substitute and to Forfeit Property of Jeannie

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 1 Sutherland (ECF No. 431) to be used towards satisfaction of Sutherland’s criminal forfeiture money

 2 judgment. On March 31, 2014, the United States District Court for the District of Nevada entered the

 3 order granting the United States’ motion to seal (ECF No. 433) and the Substitution and Forfeiture Order

 4 (ECF No. 434) authorizing the substitution and forfeiture of the real property located at 9405 Shipboard

 5 Court, Las Vegas, Nevada 89117 (“property”) pursuant to Title 21, United States Code, Section 853(p).

 6 The property is more particularly described as follows:

 7            Parcel I:
 8       Lot One Hundred Twenty-Eight (128), in Block Four (4) of Mission Monterey Unit No. 2, as
   shown by map thereof on file in Book 40 of Plats, Page 9, in the Office of the County Recorder of Clark
 9 County, Nevada.

10            Parcel II:
11         A non-exclusive easement on and over the “Common Area” as defined in the Declaration of
   Covenants, Conditions and Restrictions to which reference is hereafter made for access, use, enjoyment,
12 occupancy, ingress and egress of the amenities located hereon subject to the terms and provisions of said
   Declaration of Covenants, Conditions and Restrictions recorded January 20, 1987 in Book 870120 of
13 Official Records, as Document No. 00088.

14          Together with any and all improvements and appurtenances thereon, Assessor’s Parcel No. 163-
     07-813-014.
15

16            On April 4, 2014, the United States Marshals Service (“USMS”) seized, arrested, and took into

17 custody the real property located at 9405 Shipboard Court, Las Vegas, Nevada 89117. Notice of Filing

18 Service of Process, ECF No. 442.
19             On April 8, 2014, the United States of America filed a Motion to Unseal the Sealed Ex Parte

20 Motion to Substitute and to Forfeit Property of Jeannie Sutherland and Order (ECF No. 435) so service

21 of process could be completed. On May 14, 2014, the United States District Court for the District of

22 Nevada entered the order granting the United States’ motion (ECF No. 440).

23            On April 8, 2014, the United States of America filed a Motion for an Interlocutory Order of Sale

24 of Property and Order (ECF No. 436). On May 14, 2014, the United States District Court for the
25 District of Nevada entered the order granting the United States’ motion (ECF No. 439).

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 1            This Court finds the United States of America published the notice of forfeiture in accordance

 2 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively

 3 from May 22, 2014, through June 20, 2014, notifying all potential third parties of their right to petition

 4 the Court. Notice of Filing Proof of Publication, ECF No. 449.

 5            On May 27, 2014, Michael Chen, counsel for Wells Fargo Bank, McCarthy Holthus, LLP,

 6 9510 W. Sahara Ave., Ste. 200, Las Vegas, Nevada 89117 was personally served with the United

 7 States of America’s Motion to File this Motion and the Motion to Substitute under Seal, the Motion to
 8 Substitute and to Forfeit Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the

 9 Notice. Notice of Filing Supplemental Service of Process - Personal Service, ECF No. 450.

10            On June 19, 2014, Diana Alba, Clark County Clerk, Clark County Board of Commissioners,

11 Commission Division, 500 S. Grand Central Parkway, 1st and 6th Floors, Las Vegas, Nevada 89155

12 was personally served with the United States of America’s Motion to File this Motion and the Motion

13 to Substitute under Seal, the Motion to Substitute and to Forfeit Property of Jeannie Sutherland, the

14 Substitution and Forfeiture Order, and the Notice. Notice of Filing Second Supplemental Service of

15 Process - Personal Service, ECF No. 451, p. 2-27.

16            On June 19, 2014, Diana Alba, Clark County Clerk, Commission Division, 500 S. Grand

17 Central Parkway, 1st and 6th Floors, Las Vegas, Nevada 89155 was personally served with the United

18 States of America’s Motion to File this Motion and the Motion to Substitute under Seal, the Motion to
19 Substitute and to Forfeit Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the

20 Notice. Notice of Filing Second Supplemental Service of Process - Personal Service, ECF No. 451, p.

21 28-53.

22            On June 19, 2014, Diana Alba, Clark County Clerk, Clark County Water Reclamation District,

23 500 S. Grand Central Parkway, 1st and 6th Floors, Las Vegas, Nevada 89155 was personally served

24 with the United States of America’s Motion to File this Motion and the Motion to Substitute under
25 Seal, the Motion to Substitute and to Forfeit Property of Jeannie Sutherland, the Substitution and

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 1 Forfeiture Order, and the Notice. Notice of Filing Second Supplemental Service of Process - Personal

 2 Service, ECF No. 451, p. 54-79.

 3            On June 19, 2014, Larry Brown, Chairman, Clark County Water Reclamation District, 5857 E.

 4 Flamingo Road, Las Vegas, Nevada 89122 was personally served with the United States of America’s

 5 Motion to File this Motion and the Motion to Substitute under Seal, the Motion to Substitute and to

 6 Forfeit Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of

 7 Filing Second Supplemental Service of Process - Personal Service, ECF No. 451, p. 80-105.
 8            On June 19, 2014, Debbie Conway, Clark County Recorder, 500 S. Grand Central Parkway,

 9 2nd Floor, Las Vegas, Nevada 89155 was personally served with the United States of America’s

10 Motion to File this Motion and the Motion to Substitute under Seal, the Motion to Substitute and to

11 Forfeit Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of

12 Filing Second Supplemental Service of Process - Personal Service, ECF No. 451, p. 106-131.

13            On June 19, 2014, Michele F. Shafe, Clark County Assessor, 500 S. Grand Central Parkway,

14 2nd Floor, Las Vegas, Nevada 89155 was personally served with the United States of America’s

15 Motion to File this Motion and the Motion to Substitute under Seal, the Motion to Substitute and to

16 Forfeit Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of

17 Filing Second Supplemental Service of Process - Personal Service, ECF No. 451, p. 132-157.

18            On June 18, 2014, Steven B. Wolfson, Clark County District Attorney, 200 Lewis Avenue, Las

19 Vegas, Nevada 89101 was personally served with the United States of America’s Motion to File this

20 Motion and the Motion to Substitute under Seal, the Motion to Substitute and to Forfeit Property of

21 Jeannie Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of Filing Second

22 Supplemental Service of Process - Personal Service, ECF No. 451, p. 158-183.

23            On June 19, 2014, Beverly Bridges, City Clerk, City of Las Vegas, 495 S. Main St., Las Vegas,

24 Nevada 89101 was personally served with the United States of America’s Motion to File this Motion
25 and the Motion to Substitute under Seal, the Motion to Substitute and to Forfeit Property of Jeannie

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 1 Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of Filing Third Supplemental

 2 Service of Process - Personal Service, ECF No. 452, p. 2-27.

 3          On June 19, 2014, Beverly Bridges, City Clerk, City of Las Vegas Sewer, 495 S. Main St., Las

 4 Vegas, Nevada 89101 was personally served with the United States of America’s Motion to File this

 5 Motion and the Motion to Substitute under Seal, the Motion to Substitute and to Forfeit Property of

 6 Jeannie Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of Filing Third

 7 Supplemental Service of Process - Personal Service, ECF No. 452, p. 28-53.
 8          On June 19, 2014, Bradford Jerbic, City Attorney, City of Las Vegas, 495 S. Main St., 6th

 9 Floor, Las Vegas, Nevada 89101 was personally served with the United States of America’s Motion to

10 File this Motion and the Motion to Substitute under Seal, the Motion to Substitute and to Forfeit

11 Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of Filing

12 Third Supplemental Service of Process - Personal Service, ECF No. 452, p. 54-79.

13          On June 19, 2014, John Entsminger, General Manager, Las Vegas Valley Water District, 1001

14 S. Valley View Blvd., Las Vegas, Nevada 89153 was personally served with the United States of

15 America’s Motion to File this Motion and the Motion to Substitute under Seal, the Motion to

16 Substitute and to Forfeit Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the

17 Notice. Notice of Filing Third Supplemental Service of Process - Personal Service, ECF No. 452, p.

18 80-105.
19          On June 19, 2014, Mary Beth Scow, President, Las Vegas Valley Water District, 1001 S.

20 Valley View Blvd., Las Vegas, Nevada 89153 was personally served with the United States of

21 America’s Motion to File this Motion and the Motion to Substitute under Seal, the Motion to

22 Substitute and to Forfeit Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the

23 Notice. Notice of Filing Third Supplemental Service of Process - Personal Service, ECF No. 452, p.

24 106-131.
25          On June 19, 2014, Gregory J. Walch, General Counsel, Las Vegas Valley Water District, Las

26 Vegas, Nevada 89153 was personally served with the United States of America’s Motion to File this

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 1 Motion and the Motion to Substitute under Seal, the Motion to Substitute and to Forfeit Property of

 2 Jeannie Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of Filing Third

 3 Supplemental Service of Process - Personal Service, ECF No. 452, p. 132-157.

 4          On June 19, 2014, David L. Johnson, General Manager, Southern Nevada Water Authority,

 5 1001 S. Valley View Blvd., Las Vegas, Nevada 89153 was personally served with the United States of

 6 America’s Motion to File this Motion and the Motion to Substitute under Seal, the Motion to

 7 Substitute and to Forfeit Property of Jeannie Sutherland, the Substitution and Forfeiture Order, and the
 8 Notice. Notice of Filing Third Supplemental Service of Process - Personal Service, ECF No. 452, p.

 9 158-183.

10          On June 30, 2014, Jeannie Sutherland, Federal Halfway House, 2501 Industrial Road, Las

11 Vegas, Nevada 89102 was personally served with the United States of America’s Motion to File this

12 Motion and the Motion to Substitute under Seal, the Motion to Substitute and to Forfeit Property of

13 Jeannie Sutherland, the Substitution and Forfeiture Order, and the Notice. Notice of Filing Fourth

14 Supplemental Service of Process - Personal Service, ECF No. 453.

15          On July 9, 2014, the United States of America filed a proposed Settlement Agreement for

16 Entry of Order of Forfeiture as to Wells Fargo Bank, National Association, and Order (ECF No. 455).

17 On July 10, 2014, the United States District Court for the District of Nevada entered the order granting

18 the settlement agreement (ECF No. 456).
19           This Court finds the United States of America published the notice of forfeiture in accordance

20 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively

21 from June 12, 2014, through July 11, 2014, notifying all potential third parties of their right to petition

22 the Court. Notice of Filing Proof of Publication, ECF No. 457.

23          On July 22, 2014, a Petition for Remission or Mitigation of Forfeiture (ECF No. 459) was filed

24 with this Court by Huong Lam, Alessi & Koenig, LLC, counsel for the Section Seven Community
25 Association. On August 19, 2014, the Section Seven Community Association withdrew their Petition

26 for Remission or Mitigation of Forfeiture (ECF No. 463).

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 1          On August 18, 2014, the United States of America filed a proposed Settlement Agreement for

 2 Entry of Order of Forfeiture as to Section Seven Community Association and Order (ECF No. 462).

 3 On August 21, 2014, the United States District Court for the District of Nevada entered the order

 4 granting the settlement agreement (ECF No. 464).

 5 SECOND SUBSTITUTION - 2003 General Motors Hummer 4 Door Wagon

 6          On June 10, 2014, the United States filed a Sealed Ex Parte Motion to File this Motion and the

 7 Second Motion to Substitute and to Forfeit Property of Jeannie Sutherland under Seal and Motion to
 8 Unseal and Order (ECF No. 444) along with the Second Sealed Ex Parte Motion to Substitute and to

 9 Forfeit Property of Jeannie Sutherland (ECF No. 445) to be used towards satisfaction of Sutherland’s

10 criminal forfeiture money judgment. On June 13, 2014, the United States District Court for the District of

11 Nevada entered the order granting the United States’ motion to seal and unseal (ECF No. 446) and the

12 Substitution and Forfeiture Order (ECF No. 447) authorizing the substitution and forfeiture of a 2003

13 General Motors Hummer 4 door wagon, yellow in color, Vehicle Identification Number

14 5GRGN23U13H132389, bearing Nevada license plate 970 LSV pursuant to Title 21, United States Code,

15 Section 853(p).

16          On June 30, 2014, the Federal Bureau of Investigation seized, arrested, and took into custody the

17 2003 General Motors Hummer 4 door wagon, yellow in color, Vehicle Identification Number

18 5GRGN23U13H132389, bearing Nevada license plate 970 LSV. Notice of Filing Service of Process
19 regarding 2003 General Motors Hummer - Take Into Custody, ECF No. 454. After the vehicle was taken

20 into custody and the United States filed the Notice of Filing Service of Process (ECF No. 454) showing

21 that the vehicle was taken into custody, the sealed motions and the Second Substitution and Forfeiture

22 Order were automatically unsealed per the Order granting the Motion to Seal and Unseal (ECF No. 446)

23 so that the proper parties could be served.

24          On July 22, 2014, Jeannie Sutherland was personally served with the United States of

25 America’s Motion to File this Motion and the Second Motion to Substitute under Seal and Motion to

26 Unseal, the Second Motion to Substitute and to Forfeit Property of Jeannie Sutherland, the Second

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 1 Substitution and Forfeiture Order, and the Notice. Notice of Filing Service of Process regarding 2003

 2 General Motors Hummer - Personal Service, ECF No. 460, p. 2-37.

 3            On July 22, 2014, Dennis Heinreich was personally served with the United States of America’s

 4 Motion to File this Motion and the Second Motion to Substitute under Seal and Motion to Unseal, the

 5 Second Motion to Substitute and to Forfeit Property of Jeannie Sutherland, the Second Substitution

 6 and Forfeiture Order, and the Notice. Notice of Filing Service of Process regarding 2003 General

 7 Motors Hummer - Personal Service, ECF No. 460, p. 38-73.
 8            On July 23, 2014, the United States of America filed a Motion for an Interlocutory Order of Sale

 9 of the 2003 General Motors Hummer and Order (ECF No. 461). On August 27, 2014, the United States

10 District Court for the District of Nevada entered the order granting the United States’ motion (ECF No.

11 465).

12            This Court finds the United States of America published the notice of forfeiture in accordance

13 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively

14 From August 21, 2014, through September 19, 2014, notifying all potential third parties of their right

15 to petition the Court. Notice of Filing Proof of Publication - Second Substitution, ECF No. 469.

16            This Court finds no other petitions were filed herein by or on behalf of any person or entity

17 and the time for filing such petitions and claims has expired.

18            This Court finds no petitions are pending with regard to the assets named herein and the time

19 for presenting such petitions has expired.

20            THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

21 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

22 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

23 32.2(c)(2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,

24 Section 2461(c); Title 18, United States Code, Section 982(a)(2)(A); and Title 21, United States Code,
25 Section 853(n)(7) and (p) and shall be disposed of according to law:

26 . . .

27                                                       9
 8
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 1           1. Real property located at 9405 Shipboard Court, Las Vegas, Nevada 89117. The property
     is more particularly described as follows:
 2
                 Parcel I:
 3
                 Lot One Hundred Twenty-Eight (128), in Block Four (4) of Mission Monterey Unit No. 2,
 4               as shown by map thereof on file in Book 40 of Plats, Page 9, in the Office of the County
                 Recorder of Clark County, Nevada.
 5
                 Parcel II:
 6
                 A non-exclusive easement on and over the “Common Area” as defined in the Declaration of
 7               Covenants, Conditions and Restrictions to which reference is hereafter made for access, use,
                 enjoyment, occupancy, ingress and egress of the amenities located hereon subject to the
 8               terms and provisions of said Declaration of Covenants, Conditions and Restrictions recorded
                 January 20, 1987 in Book 870120 of Official Records, as Document No. 00088.
 9
                 Together with any and all improvements and appurtenances thereon, Assessor’s Parcel No.
10               163-07-813-014; and
11         2. a 2003 General Motors Hummer 4 door wagon, yellow in color, Vehicle Identification
     Number 5GRGN23U13H132389, bearing Nevada license plate 970 LSV.
12

13 which will be applied towards the criminal forfeiture money judgment of $2,341,350 in United States

14 Currency.

15          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

16 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any

17 income derived as a result of the United States of America’s management of any property forfeited

18 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.
19           The Clerk is hereby directed to send copies of this Order to all counsel of record and three

20 certified copies to the United States Attorney’s Office.

21           DATED this ___ day of ______________, 2014.

22

23

24                                                UNITED STATES DISTRICT JUDGE
25

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